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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL ACTION NO. C-08-571-2
                                                §
GLADYZBETH ZAMORANO                             §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)    There is a serious risk that the defendant will not appear for court as

required; and

         (2)    There is a serious risk that the defendant will endanger the safety of another

person or the community.

         The evidence against the defendant meets the probable cause standard. The

findings and conclusions contained in the Pretrial Services Report are adopted,

supplemented by the testimony of the defendant’s aunt and mother. The defendant is a

resident alien facing deportation if convicted. During the past few months, she and her

children have resided in Mexico with her grandmother. The defendant has other relatives

in Mexico, and spends significant time there buying merchandise to sell in the United

States. She is a poor bond risk.

         The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the extent


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practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

       ORDERED this 18th day of November, 2009.


                                              ___________________________________
                                              B. JANICE ELLINGTON
                                              UNITED STATES MAGISTRATE JUDGE




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